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                             United States District Court
                             Eastern District of Michigan
                                  Southern Division


 The United States of America,                           Criminal No. 17-30116

                     Plaintiff,
 v.

 Shelvie Lewis Avery,

                     Defendant.
                                    /

                 Stipulation to Adjourn Preliminary Exam and
                    Complaint and to Find Excludable Delay

        The United States of America and Defendant agree that there is good

 cause to adjourn the Complaint, and the Preliminary Exam in this case scheduled

 for April 2, 2017, to a new date of April 6, 2017. See Fed. R. Crim. P. 5.1(d).

 This extension of time is necessary to allow the parties to investigate the facts of

 this case further and engage in plea negotiations. Defendant concurs in this

 request and agrees that it is in his best interest. The parties further stipulate and

 agree that the complaint remains in full force and effect through the new date of

 April 6, 2017. The parties stipulate and agree that this stipulation and any order

 resulting therefrom shall not affect any previous order of pretrial detention or

 pretrial release.

        The parties also stipulate and agree that they have been, and continue to

 be, engaged in ongoing plea negotiations, from April 2, 2017, to a new date of

 April 6, 2017. And the period of delay between April 2, 2017 to April 6, 2017,
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  should be excluded in calculating the time within which the defendant shall be

  indicted under the Speedy Trial Act as “other proceedings concerning the

  defendant.” 18 U.S.C. § 3161(h)(1). See also United States v. Dunbar, 357 F.3d

  582, 593 (6th Cir. 2004), vacated on other grounds (Booker), 543 U.S. 1099

  (2005).

      Additionally, the parties agree that the adjournment from April 2, 2017 to April

6, 2017 would serve the ends of justice, and that the failure to grant this continuance

“would deny counsel for the defendant . . . the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence,” 18 U.S.C. §

3161(h)(7)(B)(iv). Therefore, “the ends of justice served by the granting of such

continuance [will] outweigh the best interests of the public and the defendant in a

speedy trial,” 18 U.S.C. § 3161(h)(7)(A), and the parties request an order to that end.


s/ JEROME F. GORGON JR.               s/ RICHARD H. MORGAN JR. w/permission
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March 21, 2017
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                             United States District Court
                             Eastern District of Michigan
                                  Southern Division


The United States of America,                         Criminal No. 17-30116

                    Plaintiff,
v.

Shelvie Lewis Avery,

                    Defendant.
                                   /


                            Order Adjourning Preliminary
                             Examination and Complaint

      This matter coming before the court on the stipulation of the parties, it is hereby

      ORDERED that good cause exists to extend the complaint and Preliminary

Examination in this case, scheduled for April 2, 2017, to a new date of April 6, 2017.

See Fed. R. Crim. P. 5.1(d).

      ORDERED that the complaint and the order setting conditions of bond remain

in full force and effect.

      ORDERED that the period from April 2, 2017 to April 6, 2017, shall be

excluded from computing the time within which an information or indictment must be

filed under the Speedy Trial Act because the parties are engaged in plea negotiations

and because the ends of justice served by such continuance
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outweigh the interests of the public and the defendant in a speedy trial. See 18 U.S.C.

'' 3161(h)(1) & (h)(7).

                                             IT IS SO ORDERED.

                                             s/Elizabeth A. Stafford
                                             ELIZABETH A. STAFFORD
                                             United States Magistrate Judge

Entered: March 22, 2017
